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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 (FLORENCE DIVISION)

JEROME WILLAIMS, on behalf of himself and
all others similarly situated,
                                                      Case No.:     4:20CV1883 RBH
                              Plaintiff,

               v.
                                                      CLASS ACTION COMPLAINT AND
AIR CHINA LIMITED,                                    JURY DEMAND

                              Defendant.


       Plaintiff Jerome Williams (“Plaintiff”), individually and on behalf of all others similarly

situated, alleges the following on the investigation of his counsel and upon information and

belief, except as to Plaintiff’s allegations regarding his own actions which are based on personal

knowledge.
                                  NATURE OF THE ACTION

       1.      This is a class action lawsuit regarding Defendant Air China Limited’s (“Air

China” or “Defendant”) failure to provide full refunds to customers whose flights were cancelled

as a result of the coronavirus, or COVID-19.

       2.      Given the outbreak of the coronavirus, Defendant Air China has cancelled a vast

percentage of their international and United States flights. However, Defendant has, to date,

refused to issue refunds for flights that Defendant cancelled.

       3.      The United States Department of Transportation (“DOT”) has “issued an

Enforcement Notice clarifying, in the context of the 2019 Novel Coronavirus (COVID-19)

public health emergency, that U.S. and foreign airlines remain obligated to provide a prompt

refund to passengers for flights to, within, or from the United States when the carrier cancels

the passenger’s scheduled flight or makes a significant schedule change and the passenger

chooses not to accept the alternative offered by the carrier. The obligation of airlines to provide



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refunds, including the ticket price and any optional fee charged for services a passenger is unable

to use, does not cease when the flight disruptions are outside of the carrier’s control (e.g., a result

of government restrictions).”1 Indeed, the DOT’s Enforcement Notice makes perfectly clear that

offering “vouchers or credits for future travel” is not an adequate or appropriate substitute for

airlines’ obligations to offer refunds for cancelled flights.2

          4.   Air China is one of the major airlines of the People’s Republic of China and

carries over 100 million domestic and international passengers annually. Air China’s business

was disrupted as a result of government-mandated restrictions on travel in response to the

coronavirus.

          5.   Defendant Air China reduced seats by 76% between January 2020 and February

2020.”3

          6.   Plaintiff, like many other travelers, was scheduled to fly with Air China. Two of

the flights on Plaintiff’s trip were scheduled to depart from or arrive in the United States: a

departing flight from Fairfax, Virginia to Bejing, China, and a return flight from Bejing to

Fairfax.

          7.   Plaintiff’s tickets were booked through the website, Justairticket.com.




1
 DEP’T OF TRANSP., U.S DEPARTMENT OF TRANSPORTATION ISSUES ENFORCEMENT NOTICE
CLARIFYING AIR CARRIER REFUND REQUIREMENTS, GIVEN THE IMPACT OF COVID-19 (Apr. 3,
2020), https://www.transportation.gov/briefing-room/us-department-transportation-issues-
enforcement-notice-clarifying-air-carrier-refund (last accessed Apr. 10, 2020) (hereinafter “DOT
NOTICE”) (emphasis added).
2
    See id.
3
 COVID-19 Recovery: Air China Files May Holiday Sched at 2019 Levels, CENTER FOR
AVIATION, https://centreforaviation.com/analysis/reports/covid-19-recovery-air-china-files-may-
holiday-sched-at-2019-levels-520264 (last accessed May 8, 2020).




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           8.    Plaintiff’s return flight was cancelled by Air China due to the coronavirus travel

restrictions while Plaintiff was abroad.

           9.    Upon discovering his return flight was cancelled, Plaintiff called Air China. Air

China informed Plaintiff that it had cancelled a number of flights and that Plaintiff would have to

take the matter up with Justairticket.com.

           10.   Plaintiff then called Justairticket.com, who only provided a partial refund to

Plaintiff.

           11.   Plaintiff has not received a full refund from Air China.

           12.   Defendant was required by the DOT Enforcement Notice to provide Plaintiff a

prompt refund when Air China cancelled his flight.

           13.   Air China also represents in its General Conditions of Carriage that “[I]f we

cancel a flight . . . we shall offer you the following options . . . we can make a refund in

accordance with the provisions of Article 11.2.”4 Article 11.2.1.2 entitles passengers to a refund

“not less than the difference between the fair paid and the fair applicable to the flight segment

already used.”5

           14.   Defendant’s acts are in violation of the DOT’s Enforcement Notice, which

requires airlines to provide “a prompt refund to passengers . . . when their carrier cancels the

passenger’s scheduled flight.”6 The DOT Enforcement Notice applies to “U.S. and foreign

airlines.”7


4
 AIR CHINA CONTRACT OF CARRIAGE § 9.2.2.3,
https://www.airchina.us/US/GB/conditions/international/#9 (last accessed May 8, 2020).
5
    AIR CHINA CONTRACT OF CARRIAGE § 11.2.1.2
6
    DOT NOTICE
7
    Id.




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       15.     Air China’s consumers have excoriated Air China’s refusal or failure to provide

its customers with refunds. For instance, like Plaintiff, customers on the website tripadvisor.com

have stated:




       April 3, 2020 Review:8

       March 2020 Review:




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8
 AIR CHINA REVIEWS, TRIPADVISOR, https://www.tripadvisor.com/Airline_Review-d8729000-
Reviews-Air-China.html#REVIEWS (last accessed April 23, 2020).



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       March 2020 Review:




       March 2020 Review:9




       16.     Plaintiff brings this action on behalf of himself and the Class for equitable relief

and to recover damages and restitution for: (i) unjust enrichment, (ii) conversion, (iii) breach of

contract, and (iv) money had and received.

                                             PARTIES

       17.     Plaintiff Jerome Williams is a citizen of the State of South Carolina and resides in

Florence, South Carolina. Mr. Williams is a missionary and the leader of a congregation. In

January 2020, Mr. Williams purchased tickets for himself and for six members of his
9
 AIR CHINA REVIEWS, TRIPADVISOR, https://www.tripadvisor.com/Airline_Review-d8729000-
Reviews-or5-Air-China.html#REVIEWS (last accessed April 23, 2020).




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congregation for a charitable mission to the Philippines. As part of that trip, Mr. Williams and

his congregation were to fly with Air China on two flights that departed from or were destined

for the United States: a departing flight from Fairfax, Virginia to Beijing, China on January 27,

2020, and a return flight from Beijing to Fairfax. Mr. Williams booked these flights through

Justairticket.com Mr. Williams paid $696.32 for each round-trip ticket, or approximately

$348.00 per way, for a total of approximately $4900.00. At the time that Mr. Williams

purchased his tickets, he understood that he would be entitled to a refund from Defendant if his

flight was cancelled. Mr. Williams’ departing flight went off as scheduled. However, while Mr.

Williams and his congregation were abroad in China, Mr. Williams’ return flight to Fairfax was

abruptly cancelled by Air China in February 2020 due to the coronavirus, COVID-19. Mr.

Williams did not receive notice of the cancellation from Air China and was only informed when

he went to check on his return flight status. Mr. Williams requested a refund from Air China but

was denied. Mr. Williams managed to book return flights for his congregation members for two

days later, on February 12, but was forced to pay approximately $700.00 per ticket. This was

more than twice what Mr. Williams was required to pay initially. Further, although Mr.

Williams has received a partial refund from Justairticket.com of $380.00 per ticket, this did not

cover the higher price of what Mr. Williams was forced to pay because of the abrupt cancellation

by Air China.

       18.      Defendant Air China Limited is a foreign corporation organized under the laws of

China with a principal place of business in Shunyi District, Beijing. Defendant Air China

conducts substantial business throughout the United States, including in the State of South

Carolina.




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                                  JURISDICTION AND VENUE
        19.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one

member of the Class, as defined below, is a citizen of a different state than Defendant, there are

more than 100 members of the Class, and the aggregate amount in controversy exceeds

$5,000,000 exclusive of interest and costs.

        20.      This Court has personal jurisdiction over this action because Defendant has

sufficient minimum contacts with this District and has purposefully availed itself of the privilege

of doing business in this District such that it could reasonably foresee litigation being brought in

this District.

        21.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendant Air

China, as a foreign entity, may be sued in any judicial district.

                                CLASS ACTION ALLEGATIONS
        22.      Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23, on

behalf of the following “Class”:

        All persons in the United States who purchased tickets for travel on an Air China
        flight scheduled to operate to, from, or within the United States whose flights
        were cancelled or were subject to a significant schedule change and not refunded.

        23.      Subject to additional information obtained through further investigation and

discovery, the foregoing definition of the Class may be expanded or narrowed by amendment to

the complaint or narrowed at class certification.

        24.      Specifically excluded from the Class are Defendant, Defendant’s officers,

directors, agents, trustees, parents, children, corporations, trusts, representatives, employees,

principals, servants, partners, joint ventures, or entities controlled by Defendant, and their heirs,

successors, assigns, or other persons or entities related to or affiliated with Defendant and/or



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Defendant’s officers and/or directors, the judge assigned to this action, and any member of the

judge’s immediate family.

       25.     Numerosity. The members of the proposed Class are geographically dispersed

throughout the United States and are so numerous that individual joinder is impracticable. Upon

information and belief, Plaintiff reasonably estimates that there are hundreds of thousands of

individuals that are members of the proposed Class. Although the precise number of proposed

members is unknown to Plaintiff, the true number of members of the Class is known by

Defendant. Class members may be notified of the pendency of this action by mail and/or

publication through the distribution records of Defendant and third-party retailers and vendors.

       26.     Typicality. The claims of the representative Plaintiff are typical of the claims of

the Class in that the representative Plaintiff, like all members of the Class, paid for an Air China

flight that was cancelled, and did not receive a refund for the cancelled flight or for any

consequential damages and cancelations caused by the original cancelled flight. The

representative Plaintiff, like all members of the Class, has been damaged by Defendant’s

misconduct in the very same way as the members of the Class. Further, the factual bases of

Defendant’s misconduct are common to all members of the Class and represent a common thread

of misconduct resulting in injury to all members of the Class.

       27.     Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all members of the Class and predominate over any

questions affecting only individual members of the Class. These common legal and factual

questions include, but are not limited to, the following:

       (a)     Whether Defendant failed to refund purchasers of cancelled flights and the

               consequential damages caused thereby;




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       (b)     Whether Defendant is liable to Plaintiff and the Class for unjust enrichment;

       (c)     Whether Defendant unlawfully converted money from Plaintiff and members of

               the Class; and

       (d)     Whether Plaintiff and the Class are entitled to damages, restitution, equitable,

               injunctive, compulsory, or other relief.

       28.     Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of the Class. Plaintiff has retained counsel who are highly experienced in complex

consumer class action litigation, and Plaintiff intends to vigorously prosecute this action on

behalf of the Class. Plaintiff has no interests that are antagonistic to those of the Class.

       29.     Superiority. A class action is superior to all other available means for the fair

and efficient adjudication of this controversy. The damages or other financial detriment suffered

by members of the Class is relatively small compared to the burden and expense of individual

litigation of their claims against Defendant. It would, thus, be virtually impossible for members

of the Class, on an individual basis, to obtain effective redress for the wrongs committed against

them. Furthermore, even if members of the Class could afford such individualized litigation, the

court system could not. Individualized litigation would create the danger of inconsistent or

contradictory judgments arising from the same set of facts. Individualized litigation would also

increase the delay and expense to all parties and the court system from the issues raised by this

action. By contrast, the class action device provides the benefits of adjudication of these issues

in a single proceeding, economies of scale, and comprehensive supervision by a single court, and

presents no unusual management difficulties under the circumstances.

       30.     In the alternative, the Class may also be certified because:

               (a) the prosecution of separate actions by individual members of the
                   Class would create a risk of inconsistent or varying adjudication



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                   with respect to individual members of the Class that would establish
                   incompatible standards of conduct for the Defendant;

                (b) the prosecution of separate actions by individual members of the
                    Class would create a risk of adjudications with respect to them that
                    would, as a practical matter, be dispositive of the interests of other
                    members of the Class not parties to the adjudications, or
                    substantially impair or impede their ability to protect their interests;
                    and/or

                (c) Defendant has acted or refused to act on grounds generally
                    applicable to the Class as a whole, thereby making appropriate final
                    declaratory and/or injunctive relief with respect to the members of
                    the Class as a whole.

                                      CAUSES OF ACTION

                                            COUNT I
                                        Unjust Enrichment

       31.      Plaintiff incorporates and realleges each preceding paragraph as though fully set

forth herein.

       32.      Plaintiff brings this claim on behalf of himself and members of the Class.

       33.      Plaintiff and the Class conferred a benefit on Defendant in the form of monies

paid to purchase airline tickets for flights that were later cancelled or subject to a significant

schedule change by Air China.

       34.      Defendant has knowledge of these benefits.

       35.      Defendant voluntarily accepted and retained this benefit. Defendant voluntarily

retained the benefit of the purchase price of the tickets in addition to consequential damages

resulting from the cancelation (such as the customer having to cancel the return flight).

       36.      Because this benefit was obtained unlawfully, namely by selling airline tickets for

flights that were later cancelled by Air China, it would be unjust and inequitable for the

Defendant to retain it without paying the value thereof.




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                                           COUNT II
                                           Conversion

       37.      Plaintiff incorporates and realleges each preceding paragraph as though fully set

forth herein.

       38.      Plaintiff brings this claim individually and on behalf of the members of the Class

against Defendant.

       39.      Plaintiff and members of the Class have an ownership right to the monies paid for

the tickets for cancelled flights sold by Defendant, as well as for the consequential damages

resulting therefrom.

       40.      Defendant has wrongly asserted dominion over the payments illegally diverted to

them for the cancelled flights, and consequential damages resulting therefrom. Defendant has

done so every time that Plaintiff and members of the Class paid to purchase a ticket for a flight

that was later cancelled or subject to a significant schedule change by Air China.

       41.      As a direct and proximate cause of Defendant’s conversion, Plaintiff and

members of the Class suffered damages in the amount of the payments made for each time they

purchased a ticket for a flight that was cancelled or subject to a significant schedule change by

Air China, and in the amount of consequential damages resulting therefrom.

                                          COUNT III
                                       Breach of Contract

       42.      Plaintiff incorporates and realleges each preceding paragraph as though fully set

forth herein.

       43.      Plaintiff brings this claim on behalf of himself and members of the Class.

       44.      Defendant entered into contracts with Plaintiff and members of the Class to

provide services in the form of flights in exchange for a set amount of money.




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        45.     Defendant has breached these contracts by retaining Plaintiff and Class members’

ticket prices while not providing flight services.

        46.     Plaintiff and members of the Class have suffered an injury through the payment of

money for tickets while not receiving services in return.

                                            COUNT IV
                                      Money Had And Received

        47.     Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

        48.     Plaintiff brings this claim individually and on behalf of the members of the

proposed Class against Defendant.

        49.     Defendant received money in the form of airline ticket fees that was intended to

be used for the benefit of Plaintiff and the Class.

        50.     Those airline ticket fees were not used for the benefit of Plaintiff and the Class,

and Defendant has not given back or refunded the wrongfully obtained money and airline ticket

fees to Plaintiff and the Class.

        51.     Defendant obtained roughly money in the form of airline ticket fees that was

intended to be used to provide flights for Plaintiff and the Class. However, Defendant has

retained all of the airline ticket fees while cancelling its flights that Plaintiff and members of the

Class were supposed to be passengers on.

        52.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs as

if fully set forth herein.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests, individually and on behalf of the alleged

Class, that the Court enter judgment in their favor and against Defendant as follows:




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        (a)     An Order certifying the proposed Class and appointing Plaintiff and his Counsel

                to represent the Class;

        (b)     An Order requiring Defendant to immediately issue refunds to Plaintiff and

                members of the Class for the cost of cancelled tickets, any cancellation fees, and

                consequential damages resulting therefrom;

        (c)     An Order of disgorgement of wrongfully obtained profits;

        (d)     An award of compensatory, statutory, and punitive damages, in an amount to be

                determined;

        (e)     An award of reasonable attorneys’ fees costs and litigation expenses, as allowable

                by law;

        (f)     Interest on all amounts awarded, as allowed by law; and

        (g)     Such other and further relief as this Court may deem just and proper.

                                    JURY TRIAL DEMANDED

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable as of right.


Dated: May 15, 2020                              Respectfully submitted,

                                                 WHITFIELD BRYSON LLP

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